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                   Exhibit G
              (Filed Under Seal)
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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK



                                      CASE NO. 15-CV-07433-RWS



VIRGINIA L. GIUFFRE,
          Plaintiff,
vs.

GHISLAINE MAXWELL,

            Defendant.
                                    /

THE DEPOSITION OF:                    CHRIS ANDERSON

AT THE INSTANCE OF:                   The Defendant

DATE:                                 November 22, 2016

TIME:                                 Commenced at 8:01 a.m.
                                      Concluded at 11:20 a.m.



LOCATION:                             Greenberg Traurig, LLP
                                      101 East College Avenue
                                      Tallahassee, Florida 32301



REPORTED BY:                          AUTUMN KESTERSON, RPR, FPR




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                         CERTIFICATE OF OATH




STATE OF FLORIDA                )
COUNTY OF LEON                  )




             I, the undersigned authority, certify that said
designated witness personally appeared before me and was
duly sworn.




             WITNESS my hand and official seal this 5th day
of December, 2016.




                         AUTUMN KESTERSON, RPR, FPR
                         NOTARY PUBLIC




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                       CERTIFICATE OF REPORTER


STATE OF FLORIDA         )
COUNTY OF LEON           )


      I, AUTUMN KESTERSON, Registered Professional Reporter
and Notary Public, do hereby certify that the foregoing
proceedings were taken before me at the time and place
therein designated; that a review of the transcript was
requested, and that the foregoing pages numbered 1 through
106 are a true and correct record of the aforesaid
proceedings.


      I further certify that I am not a relative, employee,
attorney or counsel of any parties, nor am I a relative or
employee of any of the parties' attorney or counsel
connected with the action, nor am I financially interested
in the action.
      DATED this 5th day of December, 2016.




                         AUTUMN KESTERSON, RPR, FPR




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